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  8                                UNITED STATES DISTRICT COURT
  9                           SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES GOVERNMENT,                                  CASE NO. 04 CR 1765 JM
 12                                         Plaintiff,            ORDER GRANTING
               vs.                                                CONTINUANCE OF SELF-
 13                                                               SURRENDER DATE
       THOMAS C. KASPER,
 14
                                          Defendant.
 15
 16
             IT IS HEREBY ORDERED, that the self-surrender date to a Bureau of Prison institution
 17
      presently set for November 14, 2007 at 5:00 p.m. be continued to December 12, 2007 at 5:00 p.m.
 18
             IT IS FURTHER ORDERED, that if the defendant does not self-surrender directly to the
 19
      institution on December 12, 2007, he is to appear before the court on December 14, 2007 at 9:00 a.m.
 20
      to self-surrender.
 21
             IT IS SO ORDERED.
 22
 23
      DATED: November 14, 2007
 24
 25                                                      Hon. Jeffrey T. Miller
                                                         United States District Judge
 26
 27   cc:            All parties

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